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             EXHIBIT 2
Harper/Harper S1 SCAN
Harper/Harper S1      Case 1:17-cv-05221-LLS Document 127-2 Filed 07/08/20 Page 2 of 27
                        18/9/7
                 SCAN ''18/9/7 A00K010003430
                               AOCK010003430 14465
                                             14465




               UNITED STATES DISTRICT
               UNITED        DISTRICTCOURT
                                      COURT
                         DISTRICT OF NEW
               SOUTHERN DISTRICT
               SOUTHERN              NEW YORK
                                         YORK
                                                   x
                        TOWNSEND GRIFFIN,
               KATHRYN TOWNSEND
               KATHRYN            GRIFFIN, HELEN
                                           HELEN   ::
               MCDONALD, and
               MCDONALD,     THE ESTATE
                          andTHE        CHERRIGALE ::
                                 ESTATE CHERRIGALE
               TOWNSEND,
               TOWNSEND,

                                                    Plaintiffs,
                                                    Plaintiffs,                         Docket
                                                                                        Docket No.
                                                                                               No.17-cv-5221
                                                                                                   17-cv-5221(RJS)
                                                                                                             (RJS)

                                 -against-
                                 -against-                                              DECLARATION OF
                                                                                        DECLARATION
                                                                                        DR.
                                                                                        DR.ALEXANDER  STEWART
                                                                                            ALEXANDER STEWART
                         CHRISTOPER SHEERAN, p/k/a
               EDWARD CHRISTOPER
               EDWARD                          p/k/a ED
                                                     ED
                                     RECORDING
                          ATLANTIC RECORDING
               SHEERAN, ATLANTIC
               CORPORATION d/b/a
               CORPORATION          ATLANTIC RECORDS,
                              d/b/a ATLANTIC
               SONY/ATV MUSIC
               SONY/ATV   MUSIC PUBLISHING,
                                 PUBLISHING, LLC  and
                                             LLC and
               WARNER MUSIC
               WARNER           GROUP CORPORATION
                         MUSIC GROUP   CORPORATION
               d/b/a ASYLUM
               d/b/a ASYLUM RECORDS,

                                                   Defendants.
                                                   Defendants.
                                                                               x
                                                                               x

               Dr. Alexander
               Dr. Alexander Stewart
                             Stewart declares
                                     declares that
                                              that     following statements
                                                   the following
                                                   the           statements are
                                                                            are true:
                                                                                true:

                        I.
                        1.       1I am over 18 years
                                       over18  years of
                                                     of age
                                                        age and
                                                            andII am otherwise
                                                                     otherwise competent
                                                                               competent to
                                                                                         totestify,
                                                                                            testify,and
                                                                                                    andII have
                                                                                                          have

               personal
               personal knowledge
                        knowledge of the
                                  of the information
                                         information contained
                                                     contained inthis
                                                               in thisDeclaration.
                                                                      Declaration. II am Professor
                                                                                         Professor of
                                                                                                   ofMusic,
                                                                                                      Music.

               Director of
               Director    Jazz Studies
                        of Jazz Studies and former Director
                                        and former Director of
                                                            ofLatin
                                                               LatinAmerican
                                                                    American and
                                                                             andCaribbean
                                                                                 CaribbeanStudies
                                                                                          Studies atthe
                                                                                                  at the

               University of
               University    Vermont. For
                          of Vermont. Foraa full
                                            full recitation
                                                 recitation of
                                                            ofmy qualifications
                                                                 qualifications and
                                                                                and background,
                                                                                    background, II respectfully
                                                                                                   respectfully

               refer
               refer the       to my curriculum
                         Court to
                     theCourt        curriculum vitae.
                                                vitae. Exh.
                                                       Exh.I.
                                                            1 .II analyzed
                                                                  analyzed Let's
                                                                           Let's Get
                                                                                 GetIt    ("LGO")and
                                                                                     ItOn ("LGO")    Thinking
                                                                                                  andThinking

               Out Loud
               Out Loud(("TOL") by listening
                         -TOL")by  listening to and
                                             to and transcribing
                                                    transcribing the
                                                                 thesongs,
                                                                     songs,examining sheet
                                                                           examining sheet music
                                                                                           musicand
                                                                                                 and

                         therm
               comparing them.'
               comparing

                                                                Overall
                                                                Overall Opinion
                                                                        Opinion

                        2.
                        2.       Let's
                                 Let's Get It
                                       Get ItOn ("LGO")
                                                ("LGO")and
                                                        andThinking
                                                           Thinking Out
                                                                    OutLoud
                                                                        Loud("TOL")
                                                                            ("TOL") feature
                                                                                    feature the
                                                                                            thesame
                                                                                                same1-iii-
                                                                                                    I-iii-

               IV-V chord
               IV-V       progression with
                    chord progression with the same harmonic
                                           thesame  harmonic rhythm of
                                                             rhythm ofanticipated  second and
                                                                       anticipated second andfourth
                                                                                              fourthchords;
                                                                                                    chords;


               1 All
               1 All references
                     references herein
                                herein to
                                       to LGO   are to
                                          LGO are   to the
                                                       the single
                                                           single version recording
                                                                  version recording by
                                                                                     by Marvin  Gaye (4:02
                                                                                        MarvinGaye    (4:02 in
                                                                                                            inlength)
                                                                                                               length) and
                                                                                                                       andto
                                                                                                                           toTOL
                                                                                                                              TOL are
                                                                                                                                   are
               to the
               to     recording by
                  therecording  by Ed Sheeran,
                                       Sheeran, Farks
                                                 Farks Dec.,
                                                        Dec., Exh.
                                                              Exh.22 (tracks
                                                                     (tracks    and2)(Dkt.
                                                                             1I and 2)(Dkt. No. 067-5), unless
                                                                                            No.067-5),  unless otherwise
                                                                                                               otherwise  noted.
                                                                                                                          noted. All
                                                                                                                                 All
               references to
               references  to "my report"
                                  report" are
                                          are to
                                              to my 12/8/17
                                                     12/8/17 report
                                                              report at Farkas Dec.
                                                                     atFarkas   Dec. Exh.
                                                                                     Exh.6  (Dkt. No.
                                                                                          6 (Dkt. No.067-6)
                                                                                                      067-6)  unless indicated.
                                                                                                              unless indicated.
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                                                                                                     2


the bass lines are virtually identical throughout most of both songs; the drum parts are virtually

                                                             possible. and the vocal melodic
identical; the keys and tempos of both songs are as close as possible,

            hooks"' contain many significant similarities.
themes or -"hooks"

       3.      As demonstrated below, even if the analysis is limited to the musical expression

contained in the lead sheet deposit copy, the harmony (chord progressions), harmonic rhythm,

and melodic hook of LGO is substantially reproduced in TOL. The basic bass line implied by the

chords and their metric placement on the LGO deposit copy is also reproduced in TOL.

       4.      The substantial similarities between the two songs are perhaps best evidenced by

                                                            Zurich_ Video Exh. 1.
           's performance of the songs in November, 2014 in Zurich.
   Sheeran's
Ed Sheeran                                                                     1 . At the

concert, Sheeran starts by playing TOL using only acoustic guitar. At around 4:30, in the middle

of the interlude, he interweaves the "hook" from LGO and the audience reacts with enthusiastic

recognition. The transition between the two pieces is seamless, precisely because the music — the

                            rhythm. bass line and melody is the same, as discussed below.
chord progression, harmonic rhythm,

A.     The Combination of Harmonic and Rhythmic Elements in Let's Get It On is
       Creative and Not Found in Prior Works.

       5.      LGO and the first 24 seconds of TOL feature the same chord progression. The

harmony of LGO is notated on the deposit copy. For comparison purposes,
                                                              purposes. and following

                       procedure. both songs should be transposed to the same key: D Major.
standard musicological procedure,

This basic four-chord cycle in LGO and the first 24 seconds of TOL is as follows:

                     First Chord     Second Chord            Chord
                                                       Third Chord.      Fourth Chord
 Let's Get It On     D major         F# minor          G major           A major
 Thinking Out Loud   D major         F# minor          G major           A major
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                                                                                                                 3

         6.      For comparison analytical purposes, musicologists convert these harmonies to

Roman numerals in which the number denotes the scale degree of the root and upper-case letters

indicate major while lower-case letters denote minor.

                          First Chord          Second Chord Third Chord         Fourth Chord
 Let's Get It On          I                    iii          IV                  V
 Thinking Out Loud     I                       iii          IV                  V
        7.      As shown above, the chord progression for the first 24 seconds of TOL is

identical to LGO. This chord progression was not commonplace prior to LGO, though it is

present in some songs identified by Dr. Ferrara.2

        8.       After the first 24 seconds of TOL, the second chord in TOL is analyzed slightly

differently, however the chord progressions in LGO and TOL remain extremely similar because

the difference in the second chord in TOL hinges on the presence of an additional single pitch

("D"). However, both experts' transcriptions agree that there is no D note in the second chord

prior to the 24-second mark in TOL. only F# and A. See Ferrara. 10/6/2015 Response Music

Example 1 on p.7; Report 1-12-18 para 51. p. 17.— opening 16 measures.) The combination of

notes F# and A and absence of D (the root) strongly indicate that this chord should be analyzed

as F# minor (as in LGO). When the pitch D is added to TOL at 24 seconds it is analyzed as

D/F# (below) rather than the F# minor as heard in the first 24 seconds.

        9.       Both Dr. Ferrara's and my transcriptions correctly indicate the absence of this

pitch in the opening guitar part of TOL. Ferrara Report, p. 17 (Musical Example 1).

        10.      The pitch "D" is added to the second chord in TOL at 24 seconds making it D/F#.

and the D/F# chord is used throughout the rest of the verses and choruses of TOL.



 I am aware that defendants have misinterpreted my comment "no problem" at my deposition as referring a third
party's opinion that this chord progression was common. My comment "no problem" referred to that third party's
opinion that the use of the chord progression in LGO was not plagiarism.
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                                                                                                                      4


                           First Chord          Second Chord            Third Chord            Fourth Chord
 Let's Get It On           D major / I          F# minor / iii          G major / IV           A major / V
 Thinking Out Loud         D major / I          D major/F# /1/3         G major / IV           A major / V


         11.      The chart above makes clear that the chord progressions are extremely similar.

         12.      Regardless of whether the "D" is present in the second chord in TOL (before and

after the 24-second mark) since F# minor and D/F# are closely related' the difference of this

single pitch in a single chord is insignificant in the four-chord progression.

         13.      The chord progression in TOL noted above, or a slight variant of it, is extremely

similar to LGO and is used throughout approximately 70% of TOL and 86.7% of LGO.

B.       The Harmonic Rhythm of Let's Get It On is Distinctive

         14.      The harmonic rhythm, "the rhythm articulated by changes of harmony,"4 in LGO

and TOL is anticipated second and fourth chords.5 The harmonic rhythm in LGO is notated on

the sheet music deposit copy by the careful placement of chord changes above specific lyrics.

         15.      Anticipated second and fourth chords means that instead of placing each chord of

the four-chord progression equally apart from each other, the second chord and fourth chord are

"anticipated," meaning they are placed before the beat, or earlier than expected.

         16.      The composer's creative decision to use anticipated metric placement of the

second and fourth chords is what gives Let's Get It On its relaxed, loose, confident, "swing."

This creative choice contrasts with the more four-square "on-the-beat" placement of the chords

found in almost all of the prior works cited by defendants.


3 Chords are said to be closely related when they share many of the same pitches. In diatonic harmony, the roots of
such chords are usually a third apart, as they are here, F# minor and D. These chords also share the same tonic
function. Indeed, the iii and I chords are frequently considered interchangeable.
4 "Harmonic Rhythm," The Oxford Companion to Music (2011).
5 Rhythmic expression refers to the number of times that a chord is sounded or "attacked." This is a different
musicological concept than harmonic rhythm.
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                                                                                                   5

        17.    The identical combination of the chord progression and distinctive harmonic

rhythm of the chord progression in LGO and TOL. is indicative of copying.

        18.    Dr. Ferrara's statement that harmonic rhythm is the pace at which chords are

played is false. Harmonic rhythm is the rate at which the chords change. Harmonic rhythm does

not "derive" from a chord progression. It is independent of the chord progression. The same

chord progression can have any number of different harmonic rhythms.

        19.    Dr. Ferrara's statement at paragraph 8 of his declaration that LGO and TOL have

different harmonic rhythms because TOL "features a two-bar chord progression generally with

two chords per bar" while "LGO features a four-bar chord progression with two chord in bar 1,

one chord in bar 2, two chords in bar 3 and one chord in bar 4" is baseless.

       20.     There are only four chords in the progression in TOL and LGIO. Each chord is

indicated once. Since harmonic rhythm is the rate of change in the chords, there can be, by

definition, only four chord changes. Yet, Dr. Ferrara describes six chords in the LGIO deposit

copy. In the LGO deposit copy the progression is notated as four bars.

       '21.    No chords are indicated in measures 2 and 4 of the deposit copy because the

second and fourth chords are anticipated, i.e., placed at the end of the measure before. The

second and fourth measures therefore give no chord because there is no chord change.

       22.     When the four chords in LGO are notated as a two-measure progression (as they

are in Dr. Ferrara and my transcriptions), the chords fall in between the second and third beats

exactly the same as in TOL. The harmonic rhythm in LGO could be notated as a four-bar

progression or two-bar progression and the internal relationship of the rhythms remain the same.

       23.     The harmonic rhythm of LGO. and duplicated in TOL, is found in only one work,

"Georgy Girl," and none of the instructional books cited by Dr. Ferrara.
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                                                                                                        6

C.       The Bass Line Melody in LGO Is Duplicated in TOL

         24.      The bass line of a musical work is set in a lower register and is typically the

lowest melodic part. A bass line can be played on any instrument. including the low strings of a

guitar. The bass lines LGO and TOL are virtually identical in the guitar part during the first 24

seconds and second verse of TOL and in the bass during the last chorus of TOL.

         25.      The basic bass line in both songs is 1-3-4-5. The basic bass line is implied by the

chords and their metric placement on the deposit copy of LGO. In the first 24 seconds of TOL,

the bass line is performed on the low strings of the guitar (which are tuned the same as the bass

guitar except an octave higher). This is the only bass part heard for the first 24 seconds and

because it is the beginning of the song, it makes a lasting impression of the work.

         26.      In his 2015 report, page 6 (Exh. 3), Dr. Ferrara offered this transcription of the

bass line played on the guitar in TOL as follows:

                               C         Em7                        F       Gtwsa►
     "Let's Get It On'
                   On"
                  0:02   7:2 J                                                             on ".
                                                                                              • 75-1

                               C5        C/E                        F5       G5
Thinking Out Loud"        •        •
              0:00                                                  i   •                  •


         27.      Dr. Ferrara transcribed (above) the pitch sequence in the basic bass line (1-3-4-5-

5) in the first 24 seconds of TOL and LGO almost identically in his report (when transposed to

the same key). I agree with these transcriptions except for the durations.

         28.      Both Dr. Ferrara and I when depicting the "basic" bass lines used simplified

transcriptions that left out rests or moments of silence in the bass parts that occur between many

bass notes. This is a typical musicological procedure when the focus is on the pitches and

rhythmic placement of the notes. Indeed, Dr. Ferrara 's music example cited above is contradicted
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                                                                                                                      7


by his fuller transcription on page 17 of his 1/12/18 Report of the guitar part in TOL in which the

durations are indicated and many bass notes are sustained for shorter time as follows:


                                                  MUSICAL EXAMPLE 1
                                                   "Thinking Out Loud"
                                                  Guitar part at the opening
       At 0:00

           ##t
                 ' CT)


Durations in the opening guitar/bass line of TOL in 2015 report

               Note Duration in Dr. Ferrara                         Note Duration in Dr. Ferrara
               2015 Report                                          2018 Report (circled in red above)
 Measure #1    (i) Dotted quarter equal to 1 '/2 beats               1) Quarter note equal to 1 beat
 (2 notes)

               (2) Eighth note tied to a half note equal to 2 1/2   (2) Eighth note tied to a quarter note equal to
               beats                                                I Y2 beats



                   ------


 Measure #2    (1) Dotted quarter equal to 1 '/2 beats              (1) Quarter note equal to 1 beat
 (3 notes)
                  •                                                 0
               (2) Eighth note tied to an eighth note equal to 1    (2) Eighth note tied to an eighth note equal to
               beat                                                 1 beat




               (3) Quarter note equal to 1 beat                     (3) Eighth note equal to 12
                                                                                              / beat



               ----
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                                                                                                                            8

As can easily be seen, four out of five of the durations of the bass notes in Dr. Ferrara's

transcription of the full guitar part are different from his depiction of the durations of the "basic"

bass line in the guitar from his 2015 report. Dr. Ferrara never provided a transcription of the bass

line in LGO with the more accurate durations, which I have done below and in my full

transcription (Exh. 4).

         29.       Dr. Ferrara's transcription of the entire guitar part more accurately depicts the

durations of the bass notes (circled in red) and also confirms an important decorative figure at the

end of the two-measure passage — the melodic movement 5-6 (circled in blue).6

 At 0:00

                                                                                     -•
                        X




         30.       The two-measure passage from the first 24 seconds of TOL transcribed by Dr.

Ferrara (above) is almost exactly the same as the bass line throughout LGO as shown below.

There is only one note in LGO, an additional "3" (in black), that is not copied in TOL:


                     LGIO                                       1           1
                                          3               3     4           5        5           5 6


                                              0          •      •                                • •
                     TOL                  3                     4           5        5     5 6

                              •      7                                                   "47:1- 1
                                                                            0
                                              •




6 In my full transcription of TOL the 5 in the 5-6 figure is notated as a sixteenth note. I disagree with his notation of
this short note as a grace note ("a note printed in small type" Harvard Dictionary of Music, 356). In any event, the
duration of a grace note is variable and subject to differing interpretations.
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                                                                                                9

       31.
       31.    The arrows
              The arrows indicate
                         indicate the
                                  the bass
                                      bass notes
                                           notes in
                                                 in Let's
                                                    Let's Get
                                                          Get It
                                                              It On dictated
                                                                    dictated by
                                                                             by the
                                                                                the chord
                                                                                    chord names
                                                                                          names

and placement
and placement of the chords
              of the chords on
                            on the
                               the deposit copy of
                                   deposit copy of Let's
                                                   Let's Get
                                                         Get It On. The
                                                             ItOn.  The bass
                                                                        bass notes without
                                                                             notes without

arrows (and
arrows (and those
            those with
                  with arrows) are transcribed
                       arrows) are transcribed from
                                               from the
                                                    the single
                                                        single version
                                                               version of
                                                                       of LGO.

       32.
       32.    In addition
              In addition to
                          to the
                             the pitches
                                 pitches (represented
                                         (represented by
                                                      by integers
                                                         integers 1-7
                                                                  1-7 where do=1, re=2,
                                                                      where do=1, re=2, mi=3,
                                                                                        mi=3,

etc.), the
etc.). the metric
           metric placement
                  placement and
                            and the
                                the durations
                                    durations (how long the
                                              (how long the notes
                                                            notes are
                                                                  are sustained)
                                                                      sustained) are
                                                                                 are identical.
                                                                                     identical.

     the decorative
Even the
Even     decorative "turn
                    "turn around"'
                          around" pair
                                  pair of
                                       of notes
                                          notes (5-6) are
                                                (5-6) are heard at the
                                                          heardat  the end
                                                                       end of
                                                                           of the cycle, although
                                                                              the cycle, although

in TOL
in TOL they
       they are
            are placed
                placed an
                       an octave higher and
                          octave higher and sounded
                                            sounded slightly
                                                    slightly earlier.
                                                             earlier.

       33.
       33.       important feature
              An important feature of
                                   of the
                                      the bass
                                          bass line
                                               line in
                                                    in Let's
                                                       Let's Get
                                                             Get It
                                                                 It On is
                                                                       is the downward leap
                                                                          the downward leap by
                                                                                            by a
                                                                                               a

sixth interval
sixth interval (represented
               (represented by
                            by the
                               the first
                                   first "3"
                                         "3" in
                                             in the
                                                the bass
                                                    bass melody transcription). When discussing
                                                         melody transcription).      discussing

pitches or
pitches or intervals
           intervals as
                     as being
                        being either ascending or
                              either ascending or descending
                                                  descending we are
                                                                are focusing
                                                                    focusing on
                                                                             on the
                                                                                the melodic
                                                                                    melodic

contour or
contour    direction of
        or direction of the
                        the pitches/intervals
                            pitches/intervals within
                                              within a melody.
                                                     a melody.

       34.
       34.    The second
              The second note
                         note in
                              in the
                                 the bass
                                     bass line
                                          line above
                                               above is approached by
                                                     is approached by a descending
                                                                        descending sixth,
                                                                                   sixth,

meaning that
meaning that in
             in the
                the key,
                    key, the
                         the first
                             first note
                                   noteis
                                        isa "1
                                            "1" (D),
                                                (D), and the
                                                     and the second
                                                             second note
                                                                    note descends
                                                                         descends six
                                                                                  six diatonic
                                                                                      diatonic

pitches to
pitches to -
           "F#", which usually
            F#",which  usually would
                               would be played by
                                     be played by ascending
                                                  ascending three
                                                            three pitches
                                                                  pitches from
                                                                          from D.
                                                                               D. The use of
                                                                                  The use of

this unusual
this unusual choice in
             choice in the opening bass
                       the opening bassmelody of TOL
                                        melodyof TOL is
                                                     isevidence  of copying.
                                                        evidence of copying.

       35.
       35.        concept of
              The concept
              The         of "ascending"
                             "ascending"' and
                                          and "descending"
                                              "descending" D to F#
                                                           D to       visualized in
                                                                   is visualized
                                                                F# is            in this
                                                                                    this image:
                                                                                         image:

                                                           D            Descending Sixth
                                                      at       c#
                                                  B                 B
                                              A                         A
                       Ascending
                                          G                                 G
                       Third   —
                                     F#                                         F#
                                 E                                                   E
                             D                                                           D


       36.
       36.        descending sixth
              The descending
              The            sixth gives
                                   gives the
                                         the bass
                                             bass melody
                                                  melodya  different contour
                                                         a different contour than
                                                                             than if
                                                                                  if the
                                                                                     the melody
                                                                                         melody

ascended
ascended to F# from
         toF#       D, adding
               fromD,  adding an
                              an element
                                 element of
                                         of contrary
                                            contrary motion
                                                     motion to
                                                            to the
                                                               the harmony. The ascending
                                                                   harmony. The ascending
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                                                                                                                    10

"F#" is more conventional as it tracks the ascent of the chord progression from D to F#. This

downward leap by six pitches is especially prominent and important element of the melodic

contour of Let's Get It On and contributes significantly to the melodic flow of the bass line and

the underlying cyclical groove (a large fall followed by a steady upward rise back to the first beat

of the two-measure pattern).

         37.      The descending sixth interval is also featured in the bass line of the first 24

seconds of TOL (as shown in paragraph 26, 29 and 30 above) as well as a total of 31 times in the

TOL sheet music. Stewart Exh. 5. Although Dr. Ferrara did not offer any full transcriptions of

the bass lines from LGO. Dr. Ferrara's statement on page 4 in his 2015 report (Exh. 3) that "the

first iteration of the bass line in "Thinking" has a leap down from 1 to 3 that is similar to 'Let's"'

acknowledges this similarity. His reference of "leap down from 1 to 3" is another way of

describing the "descending sixth." The presence of the descending sixth in TOL is probative of

copying.

         38.      In the "kitchen demo" of TOL, which Ed Sheeran states is the first recording of

TOL and constitutes the composition of TOL. Exh. 12 (Sheeran Tr. at 129: 1 1-12) the descending

sixth is heard throughout. or 34 times. The ascending third is not heard a single time.'

         39.      At approximately 25 seconds into Thinking Out Loud, an additional bass line

appears ("Bass Line B") which plays the more conventional ascending third, rather than the

descending sixth. However, even following the appearance of Bass Line B. the original bass line

with the descending sixth can be found often in Thinking Out Loud (Exh. 5 TOL sheet music

with descending bass marked). In LGO, both the descending and the ascending bass line are




'7 As fully explained in my previous report, if Sheeran had wanted an ascending third he could have easily used
"drop D" tuning, a form of scordatura (alternate tunings) that has a long history in classical and popular music.
Sheeran uses a drop D tuning in "Photograph" see https://www.youtube.com/watch?v=53uEE1-2CD8.
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                                                                                                                11
                                                                                                                11

heard simultaneously
heard simultaneously when
                     when an
                          an additional
                             additional bass
                                        bass line
                                             line enters
                                                  enters at
                                                         at 1:40 played by
                                                            1:40played  by the
                                                                           the baritone
                                                                               baritone

saxophone.
saxophone.

        40.
        40.      The prominence
                 The prominence of
                                of the
                                   the baritone
                                       baritone saxophone,
                                                saxophone, heard
                                                           heard three
                                                                 three times
                                                                       times during
                                                                             during the
                                                                                    the bridge
                                                                                        bridge in
                                                                                               in

the single
the single version
           version 1:40,
                   1:40, 1:51,
                         1:51, 2:02,
                               2:02, and
                                     and six
                                         six times
                                             times in
                                                   in the
                                                      the album
                                                          album version
                                                                version confirms
                                                                        confirms the
                                                                                 the importance
                                                                                     importance of
                                                                                                of

this line
this line in
          in LGO. None
                  None of
                       of the
                          the prior
                              prior art
                                    art cited
                                        cited by
                                              by Dr. Ferrara contains
                                                 Dr. Ferrara contains a simultaneous
                                                                        simultaneous descending
                                                                                     descending

sixth and
sixth and ascending
          ascending third.
                    third.

        41.
        41.      In measures
                 In measures 9 and 10 of
                               and 10    the recording
                                      of the           (and elsewhere)
                                             recording (and elsewhere) of
                                                                       of Let's Get It
                                                                          Let's Get It On an
                                                                                          an

additional note
additional note is
                is introduced
                   introduced into
                              into the
                                   the bass
                                       bass line (circled in
                                            line (circled in blue).
                                                             blue).88 The
                                                                      The same
                                                                          same added
                                                                               added note
                                                                                     note also
                                                                                          also

appears in
appears in the bass line
           thebass  line in
                         in the
                            the fi
                                final climactic chorus
                                  nalclimactic  chorus of
                                                       of Thinking
                                                          Thinking Out
                                                                   Out Loud
                                                                       Loud (circled
                                                                            (circled in blue) and
                                                                                     inblue)  and

the prior
the prior "black
          "black note"
                 note" is
                       is has
                          has also
                              also been
                                   been copied (circled in
                                        copied (circled in green).
                                                           green).


                LGTO
                LG!O                 3       3         3
                                                       3     4            5         5          5 ()
                                                                                                 6

             71                 7                                     7   J)
                 TOL
                 TOL
                  guitar
                  guitar




                     bass
                     bass   1        3       3       (3..\   4            5         5           6
                                                                                              5 ()
                 •
                                ti               7
                                                             J            41   AG   41




        42.
        42.      As can
                    can be seen, 100% of
                        be seen,      of these
                                         these bass
                                               bass line
                                                    line notes
                                                         notes in Let's
                                                               in Let's Get ItOn recording
                                                                        Get It   recording have
                                                                                           have

been replicated
been replicated in the
                in the last
                       last chorus
                            chorus of
                                   of Thinking
                                      Thinking Out Loud. These
                                               Out Loud. These nine
                                                               nine notes
                                                                    notes (1-3-3-3-4-5-5-5-6)
                                                                          (1-3-3-3-4-5-5-5-6)

are heard
are       throughout the
    heardthroughout  the final
                         final chorus
                               chorus of
                                      of Thinking
                                         Thinking Out Loud
                                                  Out      except for
                                                      Loud except     the final
                                                                  forthe  final iteration
                                                                                iteration in
                                                                                          in

which
whichthe
      thelast
         last two
              twonotes
                  notesare
                       areleft
                           leftout    the piece
                                   as the
                               outas      piece goes into
                                                goes intoits
                                                          itsshort
                                                             short ending
                                                                   ending section. The
                                                                          section. The




  More detailed
  More  detailed transcriptions
                 transcriptions of portions
                                of portions of Thinking Out
                                            ofThinking      Loud have
                                                        Out Loud      been facilitated
                                                                 havebeen  facilitated by defendants' production
                                                                                       by defendants' production of
                                                                                                                 of
the instrumental
the instrumental  multi-tracks
                  multi-tracks of Thinking Out
                               ofThinking   Out Loud
                                                Loudafter my last
                                                      after   lastreport.
                                                                  report.
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                                                                                                  12


development of the bass lines in the kitchen demo of TOL follow a similar trajectory of

increasing density.

       43.      The addition of the "blue circle" notes and the presence of the decorative 5-6

notes in both works and other details rule out the possibility that this is coincidental. It is

extremely unlikely, if not impossible, that two different songwriters could develop this original

creative material with this degree of similarity. As demonstrated above, the bass lines in LGO

and TOL are virtually identical at the beginning of the song.

        44.     Another distinctive similarity in LGO and TOL is the presence of syncopated

                                              "3" and "5" which are anticipated with the second
notes in the bass melodies in addition to the ".3"

and fourth chords. In my report at p. 13, the reference to distinctive qualities in LGO and TOL

included "anticipation of 3 and 5" as well "syncopation" because these are separate creative

qualities of the works. In LGO and TOL, the notes circled below are syncopated (off the beat) in

addition the anticipated "3" and "5." Once again the arrows indicate the harmonic rhythm and

implied bass line in the deposit copy.

Additional syncopated notes in Bass/Guitar Lines (LGIO mm 9-10 & TOL mm 3-4, 5-6,
also "kitchen" demo

               LGIO 1
                                                 4,    4,
                              3      3      3   4      5     5     5 6

                                       11:6       \
                                                      7
                                                          JN
                 TOL      1        3          3                4     5   5   5 6

                               7
                                                               J 7           sr    7

C.      The Drum Part in LGO is Creative and Not Found in Prior Works and Is Virtually
        Duplicated in TOL
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                                                                                                                             13
                                                                                                                             13


          45.
          45.         The drum
                      The          rhythm'9 in
                               set rhythm
                          drum set          in LGO
                                               LGO is
                                                   is a
                                                      a creative
                                                        creative combination of eighth
                                                                 combination of eighth-note
                                                                                      -note dosed hi
                                                                                            closedhi--

hats"),
hats"   accented snare
     ),accented  snare drums on beats
                       drums on beats 2 and
                                        and 4,
                                            4, and
                                               and syncopated
                                                   syncopated notes
                                                              notes on the
                                                                       the bass, or "kick"
                                                                           bass, or "kick" drum.
                                                                                           drum.

The drum
The      part in
    drum part in in TOL is
                 inTOL  is virtually
                           virtually identical.
                                     identical.

          46.
          46.            both works
                      In both
                      In      works the
                                    the first
                                        first appearance
                                              appearance of
                                                         of the
                                                            the drum
                                                                drum set
                                                                     set rhythm
                                                                         rhythm begins
                                                                                begins with   crash
                                                                                       with a crash

symbol (circled
symbol (circled in
                in blue).
                   blue).

                      1       &
                              &    2    &
                                        &   3     &&     4     &&       1     &
                                                                              &      2     &
                                                                                           &      3     &
                                                                                                        &        4       &
                                                                                                                         &
           LGIO
           LGIOi
      mash
      crash
       -hat
      hi
       -ha
sutra drun
snare drum
                                                                       J                                         J
 bass drum
 bass


           TC
           TOLL .1
                                            • 7----r                                             7      a r
          sn
       crash
       cra
      hi-hat
 saw
 snare drum
       d                  j        •
                                   dr                    sr                   s                               a
       drum
  bass dru
  bass                              •                                  •
                                                  V

          47.
          47.         Following the
                      Following     opening measure
                                the opening measure of each song,
                                                    of each song, the
                                                                  the drum
                                                                      drum set
                                                                           set rhythms
                                                                               rhythms are
                                                                                       are virtually
                                                                                           virtually

identical.
identical. The drum
           The drum parts
                    parts in
                          in LGO and TOL
                             LGO and TOL both
                                         both include
                                              include eighth
                                                      eighth-note
                                                            -note closed hi
                                                                  closed hi-hats,
                                                                           -hats, accented
                                                                                  accented

snare drums
snare drums on
            on 2 and   beats, and
                 and 4 heats. and bass
                                  bass drum
                                       drum on
                                            on the
                                               the 1I and
                                                      and syncopated on the
                                                          syncopated on     "and" of
                                                                        the"and"  of two
                                                                                     two and
                                                                                         and

the "and"
the       of three.
    -and"of  three.

                                   2    &   3      &     4     &             &      2     &      3     &     4       &
               LGIO
        hi-het
        hi-hat        x       X    X    X   X                          J     Xl     X_    X                          x
  snare drum
  snare drum
        drum II
   bass drum
   bass           2                7              7 7r
                                                         aa
                                                         IP




      hi-hat
      hi-hat
               TOL
               TOL
                      X       X1   y
                                   X
                                   •
                                        x   XI     Xl                                           XI ).) •
  bass
       drum
  mart drum
  snare
       drum
   bassdrum
             fI
             II   2 rP                      7




9 When discussing
9      discussing the drum
                  the      set, it
                      drumset,  it is
                                   is important
                                      important to keep in
                                                tokeep  in mind
                                                           mind that
                                                                that the
                                                                     the drummer is really
                                                                         drummer is really a
                                                                                           a multi
                                                                                             multi-instrumentalist
                                                                                                  -instrumentalist
playing multiple
playing  multiple  instruments at
                   instruments   at once.
                                    once. Each
                                          Eachof of the different instruments
                                                    the different instruments   has
                                                                                hasaa distinct
                                                                                       distinct timbre
                                                                                                timbre (tone
                                                                                                       (tone color)
                                                                                                             color) and
                                                                                                                    and relative
                                                                                                                         relative
pitch
pitch level.
      level.      bass drum
             The bass
             The       drum or   "kick" is
                               or"kick"  is set
                                            set to the lowest
                                                tothe  lowest pitch;
                                                               pitch; the snare, a
                                                                      the snare, a higher
                                                                                    higher raspy,
                                                                                            raspy, piercing
                                                                                                   piercing sound.
                                                                                                            sound.
  The hi
I°The  hi-hat,
         -hat, a high
               a       pitched foot
                 high pitched   foot-operated
                                     -operated  pair of
                                                pair of cymbals
                                                        cymbals that
                                                                  that can
                                                                       can also
                                                                           also be   struck with
                                                                                 be struck   with drum
                                                                                                  drum sticks,
                                                                                                        sticks,is
                                                                                                               is
compositionally one
compositionally   one of
                       of the  most expressive
                           themost   expressive   instruments in
                                                  instruments     this percussive
                                                               inthis  percussive   arsenal —— capable
                                                                                    arsenal    capable of
                                                                                                       of short
                                                                                                          short crisp notes
                                                                                                                crisp notes
          cymbal pair
      the cymbal
when the
when                pair is
                         is closed,
                            closed, longer
                                    longer woosh
                                            woosh sounds
                                                    sounds   when the
                                                             when      pair is
                                                                   thepair  is left
                                                                               left open, and
                                                                                    open,  and everything
                                                                                                everything in
                                                                                                           in between.
                                                                                                              between.
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                                                                                                   14


        48.    One small difference is that there is an additional bass drum on the "4" beats of

LGO that                                                                           insignificant
    that doubles the accented snare that is not present in TOL. This difference is insignificant

because the snare drum in TOL (and LGO) also "attacks" on the "4" so that the bass drum is

"doubling" its effect. The syncopated bass drum attacks on the "and" of 2 and 3 are the material

element of the drum part in both works because they give Let's Get It On and Thinking Out

Loud their off-beat swing and accent or reinforce the syncopated -3"
                                                                 "3" and "5" bass notes in the

bass line melody that simultaneously occur.

        49.    The particular combination of these elements in LGO's drum part is also in TOL,

           found in any work pre-dating LGO by Dr. Ferrara. This is probative of copying. Dr.
but is not found
but

Ferrara's prior art examples, "Papa's Got A Brand New Bag" and "Out Of Sight" are off the

mark.

        50.
        50,    First, "Papa's Got A Brand New Bag" uses open hi-hats which are

compositionally different.
                different, and notated differently (with an "o" above hi-hat) than closed hi-hats

(no "o" above the hi-hat) used in Let's Get It On and Thinking Out Loud. Exh. 9, p. 29; Farkas

Dec., Exh. 4 (Ferrara Report) at Exh. I. Open hi-hats sound dramatically different than closed hi-

hats because they have a much longer duration (legato) -woosh"
                                                       "woosh" sounds than the crisp "chick"

sound produced when the hi-hat is closed. In addition, "Papa's" features rim clicks which are

compositionally different and notated differently than snare drums attacks (with an "x" instead of

a note head). Rim clicks (crisp clicks of drumstick on the rim of a drum) are of much shorter

duration than the longer resonating note on the full snare drum head. In addition, the tempo of

"Papa's" is 130 beats per minute is extremely different than Let's Get It On. Farkas Dec., Exh. 4

(Ferrara Report) at Exh. I. Accordingly, the drum part in Papa's is very different than Let's Get It

On,
On. nor does it sound the same.
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                                                                                                     15


        51 .                                                   Bag" below is cut and pasted from
                  The transcription of "Papa's Got A Brand New Bag"

"The
- The Funkmasters."
      Funkmasters.- Exh. 9, p. 29.

                                          open hi hat accents
        VERSE (4J =126)
                          a   +            0   +




              rim dicks, NOT full snare


       52.        Similarly, the drum part in "Out of Sight" cited by Dr. Ferrara does not have

closed hi-hats, or any hi-hats at all, and instead uses a ride cymbal. Ride cymbals have an even

more legato feel (longer duration) than open hi-hats and are also compositionally different than

any hi-hats (open or closed) as reflected in their notation on ledger lines above the staff as can be

seen below. In addition, "Out Of Sight" also features rim clicks which are compositionally

                                                                                         pattern- ).
different and a very different tempo. Ferrara Report, ¶ 74 (stating it is a "ride cymbal pattern").

The transcription of "Out Of Sight-
                             Sight" below is cut and pasted from The Funkmasters, Exh. 9 p. 23.

        VERSE
         ERSE (a) =130)
              (dJ =130
          ride cymbal,
          NOT hi hat                                       *07                     40-
                                                                                   40.   411. ii

         H          /             r                       -12                                2
                                      a            a    a            di            a     a

                        rim clicks, NOT full
                        snare drum
                                                          l'extra
                                                            extra bass drum note



        53.       These drum parts in "Papa's"
                                      "Papa's- and "Out Of Sight" sound very different than the

drum parts in LGO and TOL.

        54.       Finally, all of the instruction books
                                                  hooks cited by Dr.
                                                                 Dr. Ferrara purporting to contain

similar drum parts as Let's Get It On were published more than 10 or 20 years after LGO was

composed. Farkas Dec., Exh. 4 (Ferrara Report) at Exh. I (published in 1996); Exh. J (published

in 1997); Exh. K (published in 1982); Exh. L (published in 1997).
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                                                                                                                                    16
                                                                                                                                    16


       55.
       55.           1I disagree
                        disagree with
                                 with defendants'
                                      defendants' contention
                                                  contention that
                                                             that the bass drum
                                                                  the bass drum note
                                                                                note in
                                                                                     in the
                                                                                        the second
                                                                                            second half
                                                                                                   half

of beat
of beat 3 of
          of TOL
             TOL is
                 is isolated
                    isolated and disrupts the
                             and disrupts the basic
                                              basic rhythm
                                                    rhythm because
                                                           because this
                                                                   this note
                                                                        note is immediately
                                                                             is immediately

           by a
"resolved" by
"resolved"    a prominent
                prominent accented
                          accented note
                                   note on the snare
                                        on the snare drum
                                                     drum on
                                                          on beat
                                                             beat 4.
                                                                  4.

D.
D.     Let's Get
       Let's Get It On's Melody
                 It On's Melody is
                                is Creative
                                   Creative

       56.
       56.                noted in
                     As I noted in my
                                   my June
                                      June 9,
                                           9, 2015 report there
                                              2015 report there are
                                                                are vocal
                                                                    vocal melodic
                                                                          melodic similarities
                                                                                  similarities in the
                                                                                               inthe

melodic hook
melodic hook of'
             of LGO
                LGO and
                    and the verses in
                        the verses in TOL.
                                      TOL. Exh.
                                           Exh. 7,
                                                7, p.
                                                   p. 7.    explained in
                                                      7. As explained in my
                                                                         my deposition,
                                                                            deposition,

additional vocal
additional       melody similarities
           vocal melody similarities exist
                                     exist in
                                           in the
                                              the two works. Stewart
                                                  two works. Stewart Tr.,
                                                                     Tr., p. 277:5-13.
                                                                          p. 277:5-13.

       57.
       57.           The central
                     The         melodic "hook"
                         central melodic "hook" of
                                                of Let's
                                                   Let's Get
                                                         Get It
                                                             It On,
                                                                On, contains
                                                                    contains the pitch sequence
                                                                             the pitch sequence 6-5-3-
                                                                                                6-5-3-

2-6-5-3-5-6-5-3 to
2-6-5-3-5-6-5-3 to which
                   which the
                         the song's
                             song's title
                                    title is
                                          is set.
                                             set. This melodic hook
                                                  This melodic hook is
                                                                    is the
                                                                       the most
                                                                           most recognizable
                                                                                recognizable and
                                                                                             and

repeatable phrase
repeatable phrase in the
                  in the entire
                         entire song.
                                song. This melody appears
                                      This melody appears in
                                                          in the
                                                             the deposit
                                                                 deposit copy
                                                                         copy of
                                                                              of Let's
                                                                                 Let's Get It On
                                                                                       Get It

(end of
(end of measure
        measure 23)
                23) and
                    and is present with
                        is present with slight
                                        slight embellishments
                                               embellishments in the single
                                                              in the single (at
                                                                            (at 0:36).
                                                                                0:36). Other
                                                                                       Other

instances of
instances            figures in
             related figures
          of related         in Let's
                                Let's Get It On are
                                      Get It    are found in measures
                                                    found in measures 62-64, 70-71,
                                                                      62-64, 70-71, 126-128
                                                                                    126-128 and
                                                                                            and

158-159
158-159 of the
        of the deposit
               deposit copy
                       copy and
                            and at
                                at 1:32,
                                   1 :32.1:42, 2:17, 3:47
                                         1 :42.2:17. 3:47 and
                                                          and 4:02
                                                              4:02 of
                                                                   of the single.
                                                                      thesingle.

       58.
       58.           The melodic
                     The melodic hook is substantially
                                 hookis  substantially copied and
                                                       copied and used
                                                                  used as
                                                                       as the
                                                                          the verse melody in
                                                                              verse melody in TOL,
                                                                                              TOL,

including in
including    the opening
          in the opening lines
                         lines of TOL. The
                               of TOL.     example below
                                       The example belowis     deposit copy
                                                           LGO deposit
                                                         isLGO         copy measure
                                                                            measure 32
                                                                                    32

(0:36 LGO
(0:36     recording) and
      LGO recording) and TOL
                         TOL at 0:00:
                             at 0:00:

             1       1 1   6    5                3           2              6   55       3    5   6   5       3

         t                 r    •••ve•
                                         J                       •
                                                                          7 •

         Let's get it      on                    su --   gar
                                                         gar              Let's get
                                                                          Let's get it
                                                                                    it on
                                                                                       on


                 3
                 3     5   6    5
                                5            3   2   1   2       3 6       1                 3 5 6
                                                                                             3   6        5
                                                                                                          5       3   3 2   1   1

                                                                                     •
                                                                     Tr
             When your
                  yourlegs
                       legsdon't
                           don't work
                                 worklike
                                      liketheyused
                                          theyused to
                                                   tobe-fore,
                                                      be-fore,                       And II can't
                                                                                            can't sweep
                                                                                                  sweepyou  off of
                                                                                                        you off    your feet,
                                                                                                                ofyour  feet,


       59.
       59.           The difference between
                     The difference between the Let's
                                            the Let's Get It On melodic
                                                      Get It    melodic hook and the
                                                                        hookand  the opening
                                                                                     opening verse
                                                                                             verse

of
ofThinking
   ThinkingOut Loud
           Out Loud is     added1-2-3-6-1
                       the added
                    isthe        1-2-3-6-1melody in
                                          melody    TOL in
                                                 inTOL     the middle
                                                        inthe  middle of
                                                                      ofthe melodic hook.
                                                                         themelodic hook.
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                                                                                                  17


From a strict "counting up the notes" perspective the addition of five notes in the middle of the

pitch sequence, the melodies are not identical, however, the strength of the impression of the

melodic hook in LGO maintains its similarity to TOL, particularly since the melodies are the

same for the four notes immediately before and five notes immediately after these added notes,

and the underlying harmonies, harmonic rhythm and bass lines are the same.

       60.     This melody forms the core musical expression of the verses of Thinking Out

Loud where similar melodic phrases occur eight times. Significantly, this is the passage from

LGO that Sheeran chose to quote in the middle of his medley of TOL and LGO. Vid. Exh. 1.

       61.     The overall vocal melodies in the Let's Get It On deposit copy are substantially

the same as in the recording, including this melodic hook.

H.     Additional Similarities in Melodic Contour and Phrasing

       62.     In my December 8, 2017 Report, I provided detailed transcriptions and analysis of

the similarities in additional melodies in LGO and TOL that have been referred to as Melodies

A, B, C at pages 7.

       63.                                           TOL, contain some pitch sequence
               Melodies "A," "B," and "C" in LGO and TOL

differences, however these small differences are diminished given their very similar melodic

contours in each example, "A," "B," and "C" and because the melodies occur over virtually

identical harmonies, harmonic rhythms, bass melodies and drum parts.

                                           Melody "A"

       64.     As demonstrated on page 7, the first vocal phrases (Melody A) in LGO and TOL
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                                                                                                                     18

              phrasing",
share similar phrasing' 1, melodic contour12
                                   contour' and pitch content along with minor differences. The

                                                    In addition, this phrase and a slight
opening melody of LGO is one of its most memorable. In

variant are heard eight times in TOL making it one of the most frequently heard themes in TOL.

         Opening themes of LGIO and TOL compared / "Melody A"
                                       F Anon                                                      A
                    0:01
                    0:01   D1)
         LGIO
         LGIO              4 -j
                                                                                                        •

                                        I've
                                         rye     ben
                                                 ben     real - ly
                                                        real    ly   try                   in'     ba
                                                                                                   ba       -   by
                                                                                                                by
                   0:00    D
                           D           DfFil                                       G              A

          TO1_
          101_

                                       When your legs
                                                 tees   don'i work
                                                        don't cork   like
                                                                      like they   used to
                                                                                  used lo be
                                                                                          be - fore.



        65.      Both phrases unfold mostly stepwise, are set to an arch-like contour beginning on

the 33rd
      rd note of the scale (F#) and proceed up to the third note in the phrase before descending to


                               I). Both phrases also linger on pitches 3 and 2 over the bar line as
and decorating the tonic (D or 1).

a way of creating tension as the tonic or 1I is approached.

        66.      The pitch 3 is blues-inflected, meaning the intonation is expressed at a variable

pitch level. Contemporary musicological research regards that the major third, minor third, and

"all possible intonations constitute the same toneme" or the same scale degree, in this case 3.13
                                                                                             3. 13

Dr. Fen-arc's
    Ferrara's explanation of the "blue note" is outdated and an attempt to differentiate between

the third degree of the scale in each song and subtract one note from the similar pitch sequences.

TOL's thirds begin on or pass through a fully-flatted third before coming to a rest on a major or

non-flattened third.




"1 Phrasing is the placement of a discrete sequence of notes.
12 Melodic contour is the shape of a melodic phrase as the pitches rise, fall or remain level.
12
13 See, for example, Evans, David (1982). Big Road Blues, p. 24; Kubik, Gerhard. Africa and the Blues (1999), p.
13
         1 18-51 and Kubik, Gerhard. "Blue note," Grove Music Online. Oxford Music Online. Oxford University
87, pp. 118-51
Press, accessed December 7, 2017.
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                                                                                                                19
                                                                                                                19


        67.
        67.      The first
                 The first phrase from LGO
                           phrase from LGO contains
                                           contains eight
                                                    eight syllables.    comparison of
                                                          syllables. AA comparison of the
                                                                                      the first
                                                                                          first 8

pitches of
pitches of these
           these syllables
                 syllables in
                           in LGO      the first
                                  with the
                              LGO with     first 8 pitches
                                                   pitches in TOL by
                                                           in TOL by converting
                                                                     converting them
                                                                                them to the same
                                                                                     to the same

key yields
key yields a very
             very similar sequence:
                  similar sequence:

 Let's Get
 Let's     It On
       Get It                                                               3-4-5-4-3-2-1-2
                                                                            3-4-5-4-3-2-1-2
          Out Loud
 Thinking Out
 Thinking     Loud                                                          3-5-6-5-3-2-1-2
                                                                            3-5-6-5-3-2-1-2
        68.
        68.      The only
                 The only difference
                          difference is
                                     is that
                                        that the
                                             the three notes following
                                                 three notes following the
                                                                       the first
                                                                           first pitch
                                                                                 pitch are
                                                                                       are raised by
                                                                                           raised by

one scale
one scale degree
          degree ——4-5-4
                   4-5-4 becomes 5-6-5.
                         becomes 5-6-5. As shown
                                           shown above
                                                 above in
                                                       in paragraph
                                                          paragraph 58, 3-5-6-5-3 is
                                                                    58, 3-5-6-5-3 is central
                                                                                     central to
                                                                                             to

the melodic
the         hook of
    melodic hook of LGO. These
                         These phrases
                               phrases also share strong
                                       also share strong similarities
                                                         similarities in
                                                                      in rhythm, phrasing and
                                                                         rhythm, phrasing and

metric placement.
metric placement. Both
                  Bothbegin on the
                       beginon     same beat
                               the same beat(the
                                             (the"and" of
                                                 "and" of two),
                                                          two), straddle
                                                                straddle the bar line
                                                                         the bar line of the
                                                                                      of the

two-measure
two-measure pattern repeated
            pattern repeated in
                             in the
                                the bass
                                    bass line,
                                         line, harmony,
                                               harmony, and
                                                        and drums, and end
                                                            drums, and end in
                                                                           in the
                                                                              the middle
                                                                                  middle of
                                                                                         of the
                                                                                            the

second measure.14
second measure.14

                                                                   Melody
                                                                   MelodyBB

        69.
        69.      Melody "B"
                 Melody "B" is
                            is analyzed
                               analyzed on
                                        on page
                                           page 9 of    December 9,
                                                  of my December    2015 Report.
                                                                 9, 2015 Report. Melody
                                                                                 MelodyBB

occurs in
occurs    LGO at
       in LGO at the
                 the end
                     end of
                         of verse
                            verse 4 (deposit copy m.
                                    (deposit copy m. 110;
                                                     110; single
                                                          single 2:38)
                                                                 2:38) and
                                                                       and in
                                                                           in TOL at the
                                                                              TOL at the

beginning of
beginning of the
             the chorus.
                 chorus. Although
                         Although the melodies come
                                  the melodies come from
                                                    fromdifferent
                                                         differentparts of
                                                                  parts of each song, this
                                                                           each song. this is
                                                                                           is

immaterial to
immaterial totheir
              their           because they
                   similarity because
                   similarity         they are underpinned by
                                           areunderpinned  by the
                                                              the same harmony and
                                                                  same harmony and rhythm.
                                                                                   rhythm.
                                2:38
                  D     Fgmin
                        Fknin          G                            A

LGIO

                            Jr you
                            If         be
                                       bc-- IlieVe
                                              ieve _          in    love,   let's   get      on._
                                                                                          it on. -
                                                 1:16
                  D      DiFt                                       A

 TOL                                                                    •
                                                        -Jt
                                                                            3
                                                          Take me in - to your lov-  in' arms
                                                                               lov -in'




   Melody A
14 Melody
14        A in
             in TOL
                TOL represents
                      represents a borrowing from
                                 a borrowing      the two
                                             fromthe  two most
                                                           most important
                                                                important signature  melodic elements
                                                                           signature melodic elements of
                                                                                                      of LGO: an
                                                                                                               an
amalgamation
amalgamation   of the
               of the phrasing,
                      phrasing, melodic
                                melodic contour, and
                                        contour, and pitch
                                                     pitch content
                                                           content of
                                                                   of the opening phrase
                                                                      theopening         of LGO
                                                                                  phrase of LGO and  the pitch
                                                                                                 andthe  pitch
sequence of
sequence    the signature
         of the signature chorus
                           chorus theme
                                  theme or
                                        or hook
                                           hook of  LGIO. Exh.
                                                 of LGIO.  Exh. 7,
                                                                7, p. 7.
                                                                   p.7.
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                                                                                                   20


       70.     The pitches of the melodies in the chorus/hook are compared as follows:

 Let's Get It On                                   3-5-4-4-3-3-3-3-1-2-3
 Thinking Out Loud                                 3-5-5-5-4-4-4-3-3-2-3


       71 .    These melodies are placed over virtually identical harmonies.
                                                                  harmonies, harmonic rhythms,

bass melodies and drum parts in LGO and TOL. The overall identity of this melodic expression

and the harmonic/melodic/rhythmic matrix over which it is placed in LGO and TOL minimizes

the slight pitch differences in the repeated pattern of notes. While the pitches may not line up

exactly the overall melodic gestures are very similar: a skip up from 3 to 5 and gradual mostly

stepwise descent to 2 and then upward movement to 3.

       72.     The first note of Melody B in TLO is notated as a grace note, however this does

not negate similarity with LGO because in TOL the grace note is a pick-up to the phrase. I

transcribed this grace note in my preliminary report dated 6/9/2015 that was produced to

defendants. Exh. 7.
                 7, p. 8.



                                           Melody "C"

       73.     Melody "C" is analyzed on pages 10-11
                                               10-1 1 of my December 9, 2015 Report. This

melody appears in the interlude section of TOL and shares significant similarities with one of the

most memorable phrases in LGO at the beginning of deposit copy Verse 2 ("we're
                                                                       (``we're all sensitive

people"). Melody "C" consists of repeated notes on a descending scale:

 Let's Get It On                                    8-8-7-7-8-7-7-6-5-3-5-1-6-5
 Thinking Out Loud                                8-8-8-7-7-7-6-6-6-5-5-5-3-2-1
 Let's Get It On (Sheeran live)                   8-8-8-7-7-8-7-6-1 -3-5-3-7-6
                                                  8-8-8-7-7-8-7-6-1-3-5-3-7-6
       74.     Significantly, Ed Sheeran quotes this passage from LGO when he sings "Let's

Get It On" during a live performance of "Thinking Out Loud."
                                                      Loud.- Vid. Exh. 1.
                                                                       1.
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                                                                                                  21


       75.     I1 disagree with defendants' claim that repeating notes on a descending D major

scale is a basic musical building block. The repeating descending notes in Melody C are creative

                                                                                myriad ways in
and not an inevitable result of descending down a major scale because there are myriad

which a melody may descend down a major scale.

E.     The Combination of Harmonic, Rhythmic, Bass Line, Hi-Hat, Bass Drum, Snare
       Drum and Melodic Elements in Let's Get It On is Creative and Original

       76.                         harmonic. rhythmic, and melodic matrix (four-chord
               Quantitatively, the harmonic,

progression, harmonic rhythm, bass line, and drum part) discussed above is central to both songs.

   LGO it is the foundation for virtually the whole song - the verses, choruses and part of the
In 1,G0

                                                                               Qualitatively, it is
bridge -— and gives LGO its defining and distinctive relaxed, confident swing. Qualitatively.

distinctive and immediately recognizeable as LGO. As represented in the deposit copy and in my

                                                                                           "fills- )
transcription, this matrix is heard (with minor variations in the bass and occasional drum "fills")

                                          bridges, or during 86.7% of the song [deposit copy:
36 times during the verses, choruses, and bridges.

144 measures out of 166; transcription: 72 out of 83 measures]. In TOL it forms the core of the

verses, choruses, and interlude where it appears 32 times, or during slightly more than 70% of

the song. [64 out of 91 measures].

       77.     Full score comparisons reveal the extent of the similar identity of the two works.

The top two lines or staves of LGO are taken directly from the deposit copy and closely track the

recording and are indicative of copying. Of the 93 notes depicted in the transcription of

Thinking Out Loud below, which includes all the significant parts of the first part of the

second verse, all but 12 notes, or 87%, are found in the chorus of LGO.
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                                                                                                                                                                                                                                                  22



                                                                                                 Full
                                                                                                 Full Score Comparison
                                                                                                            Comparison


                   Let's Get It On, first chorus (m. 23 Deposit Copy; 0:36 single recording)


         vocal      1            1 1    t                                                3             2                             6            5 3           5 6       5 6                              3          5                6
                                                                                                                                                                , . ,..-...                                                     .
          t'#
         at)
                    . t) ir
                                  .„,i a•            44.__
                                                        .__    DI.
                                                               DI
                                                                   .          (7 41)......_...
                                                                                 41)......._....       .• $
                                                                                                       ..                         7 •             1
                                                                                                                                                   #-          J•• J..                               ---si—j         .1' . J
        Let's get it                    on                                           su -             gar                          Let's get it                on_
                                                                                                                                                               on_                                         Ooh
4:71
     AL,..ii_
4:71 changes
     changes                            0
                                        D                1::m
                                                         Flin
                                                         fr
                                                                                                  (i
                                                                                                       .•
                                                                                                                         A                                      D
                                                                                                                                                                I)           14m
                                                                                                                                                                             1-Sm                     6
                                                                                                                                                                                                      (I              A



    bass                                I                3             3                          4                      5           5            5 6          1             3       3                 4              5             5             1
                                                                                                                                                                                                                                            •di
-        1 4       t                        '
                                                         . 7 j) 7 41,
                                                               7 i jy7 41,                        .1 7               7                       7
                                                                                                                                                                                     J) DJ n.r:
    drums                                                                                                                                                                                                                       fill
                                                                                                                                                                                         . JJ 1717
                                        3r=
                                        3r=                    rr           .".
                                                                              sN7                 JJ                 .Kx=
                                                                                                                     .Kx1737                                   J w
                                                                                                                                                               J ,c        )) ))w
                                                                                                                                                                         x ..)) ))_ x io
                                                                                                                                                                                      4                                         fill
                                                    s                      air                                       a       is                                          s            s                                     /               /         i
    II              i
                                                    7 V7 YI                                                          7V 7V1                                                                                      7V


                  Thinking Out Loud, beginning second verse (1:43 recording; sheet music m. 1 repeat)


    vocal                         3             5   6     5 3              2 1      2 36               1                                               (5) 3             5      6    5 3 3           2 1     1
                                                                                                                                                                                                     .
                             •                                                                              .-       -
                             •                                                                                                               $'—' 17
                                                                            V                                                                          .i.t .-.-,- 1
                                 Whcn       my hair's all gone and my man-o-ry fades,                                                                  and               the crowds don't rc-mcm-bcr my name.
    guitar         D              D 1F:                                             (i                           A                           D                   D /Ft                                       G          A
                                                                                                                                                                                                 —         _r_pr                           6      iii

                                                                                                                              56                                                                                                           56
bass, keys D                      D /FT                                             Ci                           A           (piano fill)    D           D AV                                                G          A                  cow. ac
                                                                                                                                                                                                                                                fin.;


                                                                                                                             Tr- w
                                                                                                                                 7,                                                                                                               71.
                                                                                                                                                                                                                                                  'V
                                                                                                                 5       5                                                                                   4          5              _

    drums          x , j,
                                                             .; ,                   <            NMI
                                                                                                  ,7 =AP                                          I11111!                       MIIIIP11114                    DPP
11                      ..                                     •                             •
                2 lw " .7
                   SW        ,    M                 1.   i                          dO
                                                                                                                              0
                                                                                                                                         1   IN                                      /                     ori :-..w
                                                                                                                                                                                                                   ..., 1."MIN
                                                                                                                                                                                                                           -- -71f
                                                                                                                                                                                                                              Or i

                                                                                                                                                                   V            //   V      ft
                                                                                                                                                                                                            I       'V riif'

                  78.                   The similarities identified above in the second verse of TOL, are also present in
                                                                                                                       in

the
the first verse (without drums and with the basic bass line melody, see paragraph 26.30 supra).


The chorus sections of TOL also contain the chord progression, harmonic rhythm. drum parts

and bass lines. These verses and choruses constitute 70% of TOL.
                                                            TOL.

F.
F.                Key, Tempo
                  Key, Tempo & Genre
                             & Genre
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                                                                                                                  23


        79.      LGO is in the key of E flat major and TOL is in the key of D major. These are as

close as possible; D major is a semitone or half step below E flat. Both works are rock/soul

ballads with a gospel flavor (as evidenced in the gospel-style choir heard in LGO and TOL at

2:56). Tempo is a compositional element and an important consideration for most composers. It

sets mood of the composition and it is often indicated on scores. The tempos of TOL (82 beats

per minute ("bpm") and LGO (79 bpm) add to their similarity.

G.      Lead Sheets

        80.      The deposit copy of LGO is a "lead sheet."
                                                    sheet.- Lead sheets typically convey the
                                                                        )s
song's lyrics, melody, and harmony, as a kind of shorthand of the song. is

        81.
        81 .     1I am certain that the lead sheet deposit copy of Let's Get It On is not only based

on. but is a direct transcription of the "single" version of the Marvin Gaye recording because the
on,

vocal melody in the lead sheet matches Marvin Gaye's recording to such a precise degree. It is

implausible, if not impossible.
                    impossible, that Marvin Gaye took the notated score on the lead sheet as a set

of "instructions" for how to sing Let's Get It On, including melismas, and delivered such an

exacting performance, conforming to the sheet music with such precision.

        82.      This is even more implausible given the information in the liner notes of the

Deluxe Edition that Gaye's vocal performance on LGO is a "live" take that consisted of ten

straight minutes of singing, so long in fact, that an additional recording titled "Keep Getting It

On" was created from the over four minutes of additional live singing. Exh. 9. That the lead

sheet was transcribed from the Marvin Gaye recording, rather than Gaye sang the lead sheet

notation, is the only possibility. There are only insignificant variances.



  The lead sheets that I have compared with recordings of the composition show varying degrees of accuracy and
15 The lead sheets that I have compared with recordings of the composition show varying degrees of accuracy and
completeness reflecting widely varying skills of the musicians who were hired to prepare them and the resources
available to the songwriters.
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                                                                                                  24

       83.     The liner notes to the album, Let's Get It On (Deluxe Edition) indicate the LGO

demo was recorded on March 12, 1973 (-LGO demo") and that Gaye recomposed the lyrics in a

recording session on March 22, 1973. Exh. 9. 1 transcribed the LGO demo lyrics. Exh. 10.

       84.     It is not possible the sheet music deposit copy was published in February 1973

because it contains the recomposed lyrics from the March 22, 1973 session, word-for-word.

       85.     The lyrics on the LGO demo contain many lyrics that do not appear in the later

recorded single version. In example, "Understanding and brotherhood" and "everybody ought to

try and do some good." Based on these lyrical differences it is impossible that the sheet music

deposit copy could not only anticipate the changes that would be made to the music at a later

date but also capture every vocalization of the melody to such an exacting degree. It is clear that

the deposit copy is a transcription of the single version recorded on March 22, 1973.

       86.     In addition, the placement of each chord on the deposit copy exactly corresponds

with the lyric on which the chord changes in the Marvin Gaye recording. Finally. the deposit

copy has the same form/structure as the Marvin Gaye single recording, including exactly the

same number of measures in cut time. Although cut time is not indicated on the deposit copy. it

is plainly an omission based on the Marvin Gaye recording.

H.     Purported "Differences"

       87.     Defendants point to a number of differences in TOL and LGO. These differences

are not significant. For example, portions of TOL contain chord sequences that are different

from LGO. However, the combination of harmonic and rhythmic elements from LGO comprises

the opening segment of TOL, as well as all of the other verses and forms the majority of the

chorus in the song. That there may be other chord sequences used in TOL does not minimize the

import of this combination of harmonic and rhythmic elements in TOL.
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                                                                                                                  25

         88.      Defendants point to different song structures (sequence of verses, choruses and

bridge) in TOL and LGO. This is trivial difference does not lessen the effect of use of the same

combination of harmonic and rhythmic elements from LGO in the verses and choruses of TOL.

         89.      Defendants also note that TOL has an additional bass line, "bass line B" played

by the bass guitar at 24 seconds. The additional bass line does not lessen the extreme similarity

of the bass line in the fi rst 24 seconds of TOL and LGO. As explained in in paragraphs 41-42,

the elaborated bass line played by the bass guitar in the last chorus of TOL is nearly identical to

LGO. Further, in the kitchen demo of TOL it is the only bass line heard.

                                                        "Prior Art"

         90.      Dr. Ferrara identified 13 songs, (1) True Love Ways; (2) Once Upon A Dream;

(3) A Summer Song; (4) Fun, Fun, Fun (5)1 Go To Pieces; (6) You Didn't Have To Be So Nice;

(7) Georgy Girl 16; (8) Different Drum: (9) Hurdy Gurdy Man; (10) I Started A Joke; (11)

Crocodile Rock; (12) Get Off My Cloud; (13) Last One To Know that pre-date LGO that contain

the same I-iii-IV-V chord progression. However, that is where the similarities with LGO end.

         91.      Of these musical works, only Georgy Girl has the same anticipated rhythm of the

second and fourth chords featured in LGO and TOL. however the melodic hook from LGO

copied in TOL is not found in Georgy Girl. In addition, Georgy Girl does not feature the

distinctive "descending sixth" at the beginning of the bass line or the syncopated notes in the

bass melody featured in LGO and TOL. In addition. none of these musical works feature

simultaneous bass melodies of an ascending third and descending sixth featured in LGO and

TOL. Finally, only Crocodile Rock has syncopated bass notes, other than the anticipated "3" and

"5" of the harmony, which are featured in LGO and TOL.


16 Dr. Ferrara also identified "Downtown." I have listened to this recording however, the I-iii-IV-V progression only
happens a total of twice in the whole song at 2:02 & 2:11. I do not consider this to be a good example.
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                                                                                               26




       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


                        /72018
       Dated: September /";2018

                                                         I.'-' *-•4   S.      c
                                            Alexander Stewart, Ph.D.
